 Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 1 of 23 Page ID #62



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

KAMIL KUKLINESKI,
           Plaintiff,                          Case No. 3:21-cv-01425-SPM
v.
                                               Hon. Stephen P. McGlynn
BINANCE CAPITAL MANAGEMENT CO.,
LTD. d/b/a BINANCE, BAM TRADING
SERVICES INC. d/b/a BINANCE.US, and
JUMIO CORPORATION,

           Defendants.




     BINANCE CAPITAL MANAGEMENT CO., LTD.’S MOTION TO DISMISS
     PLAINTIFF’S COMPLAINT AND MEMORANDUM OF LAW IN SUPPORT




Alexander H. Southwell                     Jacob L. Kahn
GIBSON, DUNN & CRUTCHER LLP                RILEY SAFER HOLMES & CANCILA LLP
200 Park Avenue                            70 West Madison Street, Suite 2900
New York, NY 10166                         Chicago, Illinois 60602
Telephone: (212) 351-3981                  Telephone: (312) 471-8700
asouthwell@gibsondunn.com                  jkahn@rshc-law.com

              Counsel for Defendant Binance CapitalManagement Co., Ltd.
   Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 2 of 23 Page ID #63




                                                     TABLE OF CONTENTS
INTRODUCTION............................................................................................................................... 1
BACKGROUND................................................................................................................................. 2
          I.         The Parties ................................................................................................................... 2
          II.        Plaintiff’s Allegations ................................................................................................. 3
ARGUMENT ...................................................................................................................................... 5
          I.         The Complaint Must Be Dismissed Because This Court Lacks Personal
                     Jurisdiction Over BCM. .............................................................................................. 5
                     A.         This Court Does Not Have General Personal Jurisdiction Over BCM. .......... 6
                     B.         This Court Does Not Have Specific Personal Jurisdiction Over BCM........... 7
                     C.         Plaintiff May Not Manufacture Jurisdiction With Unsupported
                                Allegations of Conspiracy, Agency, or Alter Ego. ......................................... 8
          II.        Alternatively, the Court Should Dismiss the Complaint Because It Does Not
                     Adequately Plead Any Claims Against BCM. .......................................................... 12
CONCLUSION ................................................................................................................................. 16




                                                                         i
   Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 3 of 23 Page ID #64



                                                 TABLE OF AUTHORITIES

CASES

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .....................................................................................................................13

Aspen Am. Ins. Co. v. Interstate Warehousing, Inc.,
   90 N.E.3d 440 (Ill. 2017) .......................................................................................................5, 6, 8

Bank of Am., NA v. Knight,
   725 F.3d 815 (7th Cir. 2013) ..................................................................................................13, 14

Bittman v. Fox,
    2015 WL 5612061 (N.D. Ill. Sept. 23, 2015)...............................................................................10

Cebulske v. Johnson & Johnson,
   No. 14–cv–627–DRH–SCW, 2015 WL 1403148 (S.D. Ill. Mar. 25, 2015) ................................11

Cleary v. Philip Morris Inc.,
   656 F.3d 511 (7th Cir. 2011) ........................................................................................................15

Connick v. Suzuki Motor Co.,
   675 N.E.2d 584 (Ill. 1996) ...........................................................................................................14

Daimler AG v. Bauman,
   571 U.S. 117 (2014) .......................................................................................................................6

In re Dental Supplies Antitrust Litig.,
    2017 WL 4217115 (E.D.N.Y. Sept. 20, 2017) .............................................................................11

Eilenfeldt v. United CUSD #304 Bd. of Educ.,
    2013 WL 12248080 (C.D. Ill. Mar. 25, 2013) .............................................................................13

Heartland Barge Mgmt., LLC v. Precon Marine, Inc.,
   No. 20-CV-573-SPM, 2020 WL 6544775 (S.D. Ill. Nov. 6, 2020) .........................................5, 11

In re Honey Transshipping Litig.,
    87 F. Supp. 3d 855 (N.D. Ill. 2015) ...............................................................................................9

Khan v. Gramercy Advisors, LLC,
   61 N.E.3d 107 (Ill. Ct. App. 2016)...............................................................................................12

Landau v. CNA Fin. Corp.,
   886 N.E.2d 405 (Ill. Ct. App. 2008).............................................................................................15

Lexington Ins. Co. v. Hotai Ins. Co.,
   938 F.3d 874 (7th Cir. 2019) ..........................................................................................................7

                                                                      ii
   Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 4 of 23 Page ID #65



Madison Miracle Prods., LLC v. MGM Distrb. Co.,
  978 N.E.2d 654 (Ill. Ct. App. 2012) .............................................................................................10

McGoveran v. Amazon Web Servs., Inc.,
  488 F. Supp. 3d 714 (S.D. Ill. 2020) ..............................................................................................7

McGoveran v. Amazon Web Servs., Inc.,
  2021 WL 4502089 (D. Del. Sept. 30, 2021) ................................................................................15

Mohammed v. Uber Techs., Inc.,
  237 F. Supp. 3d 719 (N.D. Ill. 2017) .............................................................................................8

Old Orchard Urban Ltd. P’Ship v. Harry Rosen, Inc.,
   904 N.E.2d 1050 (Ill. Ct. App. 2009) .......................................................................................9, 10

Page v. Democratic Nat’l Comm.,
   2020 WL 8125551 (N.D. Ill. Aug. 17, 2020) ...............................................................................11

Patel v. Fendler,
   No. 15-cv-0366-MJR-SCW, 2016 WL 336017 (S.D. Ill. Jan. 28, 2016) ....................................13

Pena v. Gray Line Corp.,
   2018 WL 2388411 (N.D. Ill. May 25, 2018) ...............................................................................10

Plastic Film Corp. of Am., Inc. v. Unipac, Inc.,
   128 F. Supp. 2d 1143 (N.D. Ill. 2001) ...........................................................................................9

Ploense v. Electrolux Home Prods., Inc.,
   882 N.E.2d 653 (Ill. Ct. App. 2007) .......................................................................................10, 11

Real Colors, Inc. v. Patel,
   974 F. Supp. 645 (N.D. Ill. 1997) ..................................................................................................9

Rios v. Bayer Corp.,
   --- N.E.3d ---, 2020 WL 2963318 (Ill. 2020) .............................................................................5, 7

Ritchie Capital Mgmt. LLC v. Costco Wholesale Corp.,
    2018 WL 1565593 (N.D. Ill. Mar. 30, 2018) ...............................................................................11

Rivera v. Google Inc.,
   238 F. Supp. 3d 1088 (N.D. Ill. 2017) .........................................................................................14

Shanahan v. Nat’l Auto Prot. Corp.,
   2020 WL 3058088 (N.D. Ill. June 9, 2020) ...........................................................................10, 14

Smith v. Jefferson Cnty. Bd. of Educ.,
   378 F. App’x 582 (7th Cir. 2010) ................................................................................................11


                                                                  iii
   Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 5 of 23 Page ID #66



Stone v. Corrigan Bros., Inc.,
   No. 20-cv-261-SPM, 2020 WL 6889249 (S.D. Ill. Nov. 24, 2020) ...............................................5

Swiss Reinsurance Am. Corp. v. Access Gen. Agency, Inc.,
   571 F. Supp. 2d 882 (N.D. Ill. 2008) ...........................................................................................14

Walden v. Fiore,
   571 U.S. 277 (2014) .....................................................................................................................11

Wiggen v. Wiggen,
   954 N.E.2d 432 (Ill. Ct. App. 2011) ...........................................................................................5, 6

STATUTES

735 ILCS 5/2-209 .................................................................................................................................5




                                                                        iv
  Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 6 of 23 Page ID #67



                                          INTRODUCTION

       Plaintiff seeks to hale into this Court a foreign investment holding company, Binance Capital

Management (“BCM”), with no connection to Illinois or the alleged privacy violations at issue, and

to subject that foreign entity to a putative class action. He cannot do so. Plaintiff contends that when

he downloaded the BAM Trading Services, Inc. (“Binance.US”) application—which is entirely

unrelated to BCM—he provided biometric data without giving written consent or being provided

information purportedly required under Illinois’ Biometric Information Privacy Act (“BIPA”). The

Complaint does not allege, and Plaintiff cannot contend in good faith, that BCM—which also does

not operate in or have any connections to Illinois—played any role in the alleged statutory violations.

Instead, Plaintiff avers that BCM was supposedly involved with Binance.US as a “co-conspirator,”

“agent,” or “alter ego.” But Plaintiff does not, and cannot, plead facts to support any of those theories.

       This Court does not need to reach the merits of the nearly nonexistent allegations against

BCM, because there is no basis for asserting personal jurisdiction over it. As the Complaint

acknowledges, BCM is incorporated in the British Virgin Islands. It lacks any contacts with Illinois,

let alone sufficient minimum contacts, that would authorize the exercise of personal jurisdiction. It

does no business in Illinois. It owns no property in Illinois. It maintains no agent for service of

process in Illinois. It maintains no bank accounts, offices, post office boxes, telephone numbers, or

other business facilities in Illinois. It seeks no revenue here. Forcing BCM to litigate in Illinois

plainly would violate BCM’s constitutional rights.

       Given the complete absence of any nexus between BCM and Illinois, it comes as no surprise

that Plaintiff does not allege any facts to support personal jurisdiction. Instead, Plaintiff tenuously

alleges that BCM and Binance.US are co-conspirators and agents of one another, and that BCM is an

alter ego of Binance.US. But Plaintiff’s assertion of jurisdiction on these various bases is vague,

conclusory, and unsupported by the facts. These theories therefore provide no alternative basis for
                                                    1
  Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 7 of 23 Page ID #68



asserting jurisdiction here. If this Court were to hold otherwise, it would be overruling decades of

Supreme Court jurisprudence foreclosing personal jurisdiction in these circumstances. If proclaiming

in rote fashion that there is a conspiracy, that one defendant is an agent of another, or that one

defendant is the alter ego of another were sufficient to establish jurisdiction, foreign defendants would

lose all due-process protections guaranteed to them under the U.S. Constitution and could

theoretically be haled into court in any state.

       Moreover, although this Court need not reach the merits, given the Complaint’s singular focus

on the interactions between Plaintiff and the Binance.US platform, Plaintiff has also (unsurprisingly)

failed to plead any legally cognizable claims against BCM. Even if that were not the case, the Illinois

BIPA does not apply extraterritorially, so the BIPA claim must be dismissed on that basis as well.

And Plaintiff’s tacked-on “unjust enrichment” claim fails for the added reason that Plaintiff has not

alleged that Binance.US’s supposed lack of disclosures or failure to obtain written consent was

detrimental to him or would have altered his behavior.

       With respect to BCM, Plaintiff’s allegations are insufficient to show personal jurisdiction

under Federal Rule of Civil Procedure 12(b)(2), and the Complaint alternatively fails to state a claim

under Rule 12(b)(6). The Complaint therefore must be dismissed as to BCM, with prejudice.

                                           BACKGROUND

  I.   The Parties

       Binance Capital Management Co., Ltd. was founded in 2019 and organized under the laws

of the British Virgin Islands. Declaration of Samantha Chan (“Chan Decl.”) ¶ 2; Compl. ¶ 16. BCM

is an investment holding company. Chan Decl. ¶ 3.

       As the Complaint alleges, BCM is a “foreign corporation.” Compl. ¶ 16. BCM does not

engage in any business at all in Illinois. Chan Decl. ¶ 5. BCM is not registered to do business in

Illinois, and its principal place of business is not in Illinois. Id. ¶¶ 5–6. BCM maintains (1) no office
                                                      2
  Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 8 of 23 Page ID #69



or mailing address in Illinois, (2) no books or records in Illinois, and (3) no agent for service of

process in Illinois. Id. ¶¶ 6, 9, 10, 12. And BCM is not the parent company of any subsidiary in

Illinois. Id. ¶ 8.

        Other Entity Defendants. In addition to BCM, the Complaint names Binance.US, alleging

it is a Delaware corporation headquartered in California.           Compl. ¶ 17.      Binance.US is a

cryptocurrency exchange available to users in the United States via website or mobile app. Id. ¶ 4.

Although the Complaint at times erroneously lumps BCM and Binance.US together, see id. ¶¶ 6, 10–

14, BCM and Binance.US are separate and distinct legal entities, Chan Decl. ¶ 19, that are represented

by separate counsel in this action. Binance.US is neither a parent nor a subsidiary of BCM. Id.

¶¶ 17–18.

        The Complaint also names Jumio Corporation, a Delaware corporation headquartered in

California, as a defendant. Compl. ¶ 18. It alleges that Jumio created the “capture process for

biometric identifiers” used by Binance.US. Id.

 II.    Plaintiff’s Allegations

        Plaintiff filed this putative class action on October 4, 2021, alleging that (1) all three

defendants violated the Illinois BIPA and (2) BCM and Binance.US were unjustly enriched. Compl.

¶¶ 48–64.

        The Complaint alleges that in order to use “the Binance.US app” users must create an account.

Compl. ¶ 7. In order to do so, “the Binance.US website and mobile applications” require potential

users to undergo a “personal identity verification process,” which asks users to take a “selfie” in order

“to capture, analyze and compare biometric data of the user’s facial features.” Id. ¶¶ 8, 23. The

purpose of this identity verification process is to avoid fraudulent or unauthorized users from

accessing the Binance.US exchange. Id. ¶ 9. The Complaint alleges that “Binance.US and Jumio

obtained biometric identifiers and information from users of its exchange, including facial geometry
                                                  3
  Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 9 of 23 Page ID #70



data, without first notifying them, without disclosing the length for collection, storage and use of this

information and without obtaining proper written consent.” Id. ¶ 14.

       On March 15, 2021, Plaintiff allegedly downloaded the Binance.US iPhone application.

Compl. ¶ 25. When he created his account, Plaintiff reviewed and accepted a “Self-Directed

Custodial Account Agreement,” which the Complaint alleges did not reference the collection of

biometric data. Id. ¶ 27. In addition, Plaintiff was allegedly prompted to take a photograph of his

face using a camera screen “within the Binance.US application.” Id. ¶ 29. The Complaint alleges

that Plaintiff was not given advanced notice that the images would be used to capture his personal

biometric data and that Plaintiff was not informed that his biometric data would be collected, for what

purpose it would be used, or for how long it would be stored. Id. ¶¶ 31–33. The Complaint further

alleges that on May 25, 2021, the Binance.US Android and iOS applications were updated to include

a notification asking users to consent to the collection of biometric data. Id. ¶¶ 34–35; see also id.

¶ 38 (alleging that neither Binance.US’s “Terms of Use” nor “Privacy Policy” speaks to the collection

of biometric data).

       The Complaint includes scarcely any allegations directed at BCM. It baldly alleges that BCM

“with assistance and control from or as an alter ego of Binance.US, was the entity that directly

collected [Plaintiff’s] and other Illinois Binance.US users’ biometric information and identifiers or is

otherwise responsible for the collection of this biometric data.” Compl. ¶ 40. To circumvent the fact

that BCM is not responsible for the operation of the Binance.US platform, the Complaint alleges that

“[e]ach defendant acted as an aider, abettor and co-conspirator of the other defendant, or is obligated

by law to be financially responsible for such conduct,” because “each defendant acted as the agent,

employee, representative, partner or joint venture of the other defendant in the commission of the

acts alleged,” and “authorized or ratified” the acts of the other defendants. Id. ¶ 19. But there are no

factual allegations supporting this conclusory assertion.
                                                  4
    Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 10 of 23 Page ID #71



                                                  ARGUMENT

    I.       The Complaint Must Be Dismissed Because This Court Lacks Personal Jurisdiction
             Over BCM.

             Plaintiff has not alleged, and cannot in good faith allege, that there is any basis for this Court

to assert personal jurisdiction over BCM.

             A federal court sitting in diversity has personal jurisdiction over a defendant only if a state

court in that same state would have jurisdiction. Heartland Barge Mgmt., LLC v. Precon Marine,

Inc., No. 20-CV-573-SPM, 2020 WL 6544775, at *2 (S.D. Ill. Nov. 6, 2020). Illinois’ long-arm

statute contains a catch-all provision (735 ILCS 5/2-209(c)) that collapses the jurisdictional inquiry

into the single issue of whether a defendant’s in-state contacts are sufficient to satisfy federal and

Illinois due process. Wiggen v. Wiggen, 954 N.E.2d 432, 437 (Ill. Ct. App. 2011); see also Aspen

Am. Ins. Co. v. Interstate Warehousing, Inc., 90 N.E.3d 440, 444 (Ill. 2017) (federal due process

requires that a defendant have certain minimum contacts with the state so maintenance of the suit

does not offend traditional notions of fair play and substantial justice). The Illinois Supreme Court

has recognized two categories of personal jurisdiction that are subject to the due-process analysis:

“general or all-purpose jurisdiction and specific or case-linked jurisdiction.” Rios v. Bayer Corp.,

‑‑‑ N.E.3d ---, 2020 WL 2963318, at *4 (Ill. 2020). Neither provides a basis for jurisdiction over

BCM.1




1
         Even when—unlike here—a complaint’s allegations satisfy a plaintiff’s prima facie jurisdictional
         burden, the defendant may challenge those jurisdictional allegations by furnishing the court with
         an affidavit, and if it does so the “plaintiff must go beyond the pleadings and submit affirmative
         evidence supporting the exercise of jurisdiction.” Heartland Barge, 2020 WL 6544775, at *2
         (citation omitted); Stone v. Corrigan Bros., Inc., No. 20-cv-261-SPM, 2020 WL 6889249, at *3
         (S.D. Ill. Nov. 24, 2020) (while fact questions are usually resolved in a plaintiff’s favor, once the
         defendant raises the issue of jurisdiction, it is “up to plaintiff to produce evidence supporting their
         position”). As explained herein, Plaintiff cannot provide the necessary evidence with respect to
         BCM.
                                                         5
 Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 11 of 23 Page ID #72



        A.      This Court Does Not Have General Personal Jurisdiction Over BCM.

        The standard for establishing general jurisdiction in Illinois is “quite high,” requiring that a

“foreign defendant has in effect taken up residence” in the State. Wiggen, 954 N.E.2d at 438. The

United States Supreme Court has held that where a defendant’s “slim contacts with the State hardly

render it at home there,” the “exercise[] of all-purpose jurisdiction” would be “exorbitant” and is thus

barred by the Due Process Clause of the Fourteenth Amendment to the United States Constitution.

Daimler AG v. Bauman, 571 U.S. 117, 121–22, 136–39 (2014). In other words, jurisdiction may be

found when the foreign corporation’s “affiliations with the State are so ‘continuous and systematic’

as to render [it] essentially at home in the forum State,” and its operations are carried on “with a fair

measure of permanence and continuity.” Id.; Wiggen, 954 N.E.2d at 438. The reverse is true—i.e.,

general jurisdiction does not exist—when the nonresident defendant conducts business in Illinois

only “occasionally or casually” or, as in this case, not at all. Id. (citation omitted).

        The Complaint has not alleged, and Plaintiff cannot credibly assert, that this Court has general

personal jurisdiction over BCM. As an initial matter, the “paradigm” forum where an entity is

“essentially at home” is its place of incorporation or principal place of business. Aspen American,

90 N.E.3d at 445. But BCM is not incorporated in Illinois and does not have its principal place of

business here. Compl. ¶ 16 (alleging BCM is a foreign corporation registered in the British Virgin

Islands); Chan Decl. ¶ 2.

        In addition, this is not an “exceptional case” where BCM’s business contacts are so

continuous and systematic as to suggest it has in effect taken up residence in the state. Aspen

American, 90 N.E.3d at 445. BCM does not engage in any business in Illinois. It is not registered to

do business here. Chan Decl. ¶ 5. It maintains no place of business here. Id. ¶ 6. It has no subsidiary

in the state. Id. ¶ 8. It solicits no business here. Id. ¶ 14. It does not have property, bank accounts,

telephone numbers, books and records, or agents for service of process in Illinois. Id. ¶¶ 7, 9, 10, 12.
                                                 6
 Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 12 of 23 Page ID #73



        Plaintiff effectively concedes there is no basis to hold BCM essentially at home in Illinois.

Compl. ¶¶ 16, 21. This Court plainly does not have general, all-purpose jurisdiction over BCM.

        B.      This Court Does Not Have Specific Personal Jurisdiction Over BCM.

        Unlike general jurisdiction, “specific” personal jurisdiction is claim specific, requiring a

showing that the defendant purposefully directed its activities at the forum state and that the cause of

action arose out of or relates to the defendant’s contacts with that state. Rios, --- N.E.3d ---, 2020

WL 2963318, at *4. For example, in McGoveran v. Amazon Web Services, Inc., the court held in

another BIPA action that there was no specific personal jurisdiction over a foreign voiceprint service

provider when there was no indication that it purposefully directed activities at Illinois citizens or

that the litigation arose from contacts it created with Illinois, although plaintiffs contended that the

foreign defendant “collected, possessed, and used the voiceprints of Illinois citizens who placed calls

from within Illinois.” 488 F. Supp. 3d 714, 722 (S.D. Ill. 2020). The court reasoned that the

defendant applied its voice biometric technology to “every caller,” “not just those calls initiated by

Illinois residents” (i.e., there was “no indication” defendants “specifically targeted Illinois citizens”).

Id.; see also Lexington Ins. Co. v. Hotai Ins. Co., 938 F.3d 874, 878–79 (7th Cir. 2019) (no specific

jurisdiction over Taiwanese company that did not purposefully direct its activities at Wisconsin,

because “it is a defendant’s contacts with the forum state, not with the plaintiff, that count” and “the

financial benefit gained from broad geographic insurance coverage does not constitute ‘doing

business’ with the entire covered territory”).

        For the reasons already discussed, Plaintiff cannot show that BCM purposefully directed any

activities at Illinois or that his cause of action relates to BCM’s contacts with the state. Instead,

Plaintiff merely alleges in the Complaint’s “Party, Jurisdiction and Venue” section that

“Defendants”—not BCM specifically—have “transacted business related to the matters complained

of herein and have made or performed related contracts substantially connected with the State of
                                              7
 Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 13 of 23 Page ID #74



Illinois.” Compl. ¶ 20. But that sort of conclusory, vague allegation is insufficient to establish a

prima facie showing of personal jurisdiction over a nonresident defendant. Aspen American, 90

N.E.3d at 444; Mohammed v. Uber Techs., Inc., 237 F. Supp. 3d 719, 735 (N.D. Ill. 2017). Moreover,

Plaintiff’s own allegations dispel the notion that BCM, as opposed to Binance.US, is one of the

“Defendants” that transacts business and enters contracts in Illinois. The Complaint alleges that

Plaintiff downloaded the Binance.US application, created an account, and submitted personal

identifying (including biometric) information to the Binance.US application. Id. ¶¶ 24–25, 28–30.

BCM, however, does not operate Binance.US.

       It is unsurprising Plaintiff has not specifically alleged that BCM purposely directed its

activities at Illinois. As Plaintiff recognizes, BCM is neither incorporated nor registered to do

business in Illinois. Compl. ¶ 16; Chan Decl. ¶ 5. BCM maintains no place of business or other

facility in Illinois. Id. ¶ 6. BCM does not own, rent, or otherwise use property in Illinois. Id. ¶ 7.

BCM has no subsidiary in Illinois. Id. ¶ 8. BCM maintains no bank accounts, telephone numbers,

or books or records in Illinois. Id. ¶ 9. BCM has no agent for service of process in Illinois. Id. ¶ 12.

None of the executives or directors of BCM resides in Illinois. Id. ¶ 11. BCM does not solicit any

business in Illinois, or otherwise seek revenue from the State. Id. ¶¶ 14–15.

       Despite Plaintiff’s single conclusory allegation to the contrary, BCM has never purposefully

directed any activities at Illinois and therefore Plaintiff’s causes of action do not relate to BCM’s

(nonexistent) contacts with this State. As a result, this Court cannot exercise specific personal

jurisdiction over BCM.

       C.      Plaintiff May Not Manufacture Jurisdiction With Unsupported Allegations of
               Conspiracy, Agency, or Alter Ego.

       Plaintiff appears to recognize that the facts alleged do not establish a basis for asserting

personal jurisdiction over BCM, as opposed to Binance.US, so the Complaint attempts to invoke

                                                   8
 Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 14 of 23 Page ID #75



groundless “conspiracy,” “agency,” and “alter ego” theories of jurisdiction instead.              Plaintiff,

however, fails to plead any facts that would support these indirect theories of jurisdiction.

        For example, the Complaint alleges that BCM, “with assistance and control from or as an

alter ego of Binance.US, was the entity that directly collected [Plaintiff’s] . . . biometric information

and identifiers.” Compl. ¶ 40. This is the only occasion when the Complaint mentions “alter ego”

jurisdiction. And it does not allege any facts in support of that alter ego theory—it does not allege

that BCM “dominate[s] and control[s] Binance.US,” that Binance.US is a subsidiary of BCM, that

BCM arranged financing for Binance.US, that BCM controls the flow of money between the

corporations (or that there is a flow of money between them), that BCM treats Binance.US’s extra

cash as its own, or that BCM exercises complete control over the daily affairs of its subsidiaries. See

Old Orchard Urban Ltd. P’Ship v. Harry Rosen, Inc., 904 N.E.2d 1050, 1061–63 (Ill. Ct. App. 2009)

(discussing alter ego theory).

        Similarly, the Complaint alleges that “[e]ach defendant acted as a[] . . . co-conspirator of the

other defendant, or is obligated by law to be financially responsible for such conduct” and that “each

defendant acted as the agent, employee, representative, partner or joint venture of the other defendant

in the commission of the acts alleged.” Compl. ¶ 19. Again, that is the lone paragraph in which the

Complaint invokes either the co-conspirator or agency theories in order to support jurisdiction, and

it alleges no facts in support of either theory. Plaintiff has not alleged BCM’s “knowing participation”

in or agreement to join any conspiracy to not follow the BIPA’s statutory requirements, and it is “not

enough to simply allege the existence of a conspiracy.” Plastic Film Corp. of Am., Inc. v. Unipac,

Inc., 128 F. Supp. 2d 1143, 1146 (N.D. Ill. 2001); Real Colors, Inc. v. Patel, 974 F. Supp. 645, 650–

51 (N.D. Ill. 1997); see also In re Honey Transshipping Litig., 87 F. Supp. 3d 855, 873 (N.D. Ill.

2015) (a general averment of conspiracy is not enough to establish that a defendant purposefully

availed itself of the benefit of Illinois’ laws or should have expected to be called into Illinois’ courts);
                                                      9
    Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 15 of 23 Page ID #76



Bittman v. Fox, 2015 WL 5612061, at *6 (N.D. Ill. Sept. 23, 2015) (holding that conspiracy theory

of personal jurisdiction did not apply, because plaintiff did not allege an actual conspiracy, did not

supply a single detail of the alleged concerted activity, and only hinted at a conspiracy).

        The Complaint likewise does not allege any facts to support an “agency relationship” between

BCM and Binance.US, Madison Miracle Prods., LLC v. MGM Distrb. Co., 978 N.E.2d 654, 677 (Ill.

Ct. App. 2012), such as when a subsidiary corporation conducts the parent corporation’s business

rather than its own, Old Orchard Urban, 904 N.E.2d at 1058–59.2

        As a result, the Complaint’s wholly conclusory invocation of the “conspiracy,” “agency,” and

“alter ego” theories is not sufficient to withstand dismissal on jurisdictional grounds. Shanahan v.

Nat’l Auto Prot. Corp., 2020 WL 3058088, at *6 (N.D. Ill. June 9, 2020) (plaintiff failed to

sufficiently allege a plausible agency relationship and thus did not make out a prima facie case of

personal jurisdiction over defendants); Pena v. Gray Line Corp., 2018 WL 2388411, at *3 (N.D. Ill.

May 25, 2018) (conclusory allegations that defendants conduct business, advertise, and own property

in the State without details as to the nature of that activity is insufficient to establish personal

jurisdiction in Illinois).

        Even if Plaintiff’s conspiracy allegation were factually supported (it is not), that allegation

still could not serve as a basis for asserting personal jurisdiction, because the “conspiracy

jurisdiction” theory is not recognized under Illinois law. As courts in this district have recognized,

the theory of conspiracy jurisdiction “has been heavily criticized by a number of courts in Illinois due

to concern regarding viability of the theory as a basis for personal jurisdiction, while still complying


2
     The suggestion that Binance.US is both a co-conspirator and agent of BCM is particularly
     nonsensical—“[b]y alleging a conspiracy . . . [a] plaintiff effectively rules out any agency
     relationship,” because the “acts of an agent are considered in law to be the acts of the principal”
     and there “can be no conspiracy between a principal and an agent.” Ploense v. Electrolux Home
     Prods., Inc., 882 N.E.2d 653, 659 (Ill. Ct. App. 2007) (citation omitted).
                                                   10
 Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 16 of 23 Page ID #77



with the Due Process Clause.” Cebulske v. Johnson & Johnson, No. 14–cv–627–DRH–SCW, 2015

WL 1403148, at *2–4 (S.D. Ill. Mar. 25, 2015) (noting the “strong trend that something more than

an attenuated link is necessary to establish a defendant’s personal jurisdiction” and dismissing for

lack of personal jurisdiction based on a conspiracy theory); see also Heartland Barge, 2020 WL

6544775, at *2 (jurisdiction proper only when the contacts at issue “result from actions by the

defendant himself that create a ‘substantial connection’ with the forum” (emphasis added)).

        The Seventh Circuit has likewise suggested that Illinois does not authorize conspiracy

jurisdiction.   The Seventh Circuit recognized the “problem with [the conspiracy jurisdiction]

argument is that the theory may not be valid in Illinois,” because the Illinois Supreme Court

“‘effectively scuttl[ed] the theory.’” Smith v. Jefferson Cnty. Bd. of Educ., 378 F. App’x 582, 585

(7th Cir. 2010) (quoting Ploense v. Electrolux Home Prods., Inc., 882 N.E.2d 653, 666 (Ill. 2007));

see Ritchie Capital Mgmt. LLC v. Costco Wholesale Corp., 2018 WL 1565593, at *6 (N.D. Ill. Mar.

30, 2018) (“Illinois courts do not recognize conspiracy participation as a basis for long-arm

jurisdiction, and the Seventh Circuit has ‘dashed cold water on the prospect.’” (citation omitted));

Page v. Democratic Nat’l Comm., 2020 WL 8125551, at *3 (N.D. Ill. Aug. 17, 2020) (“Conspiracy

theories of jurisdiction are not viable under Seventh Circuit and Illinois law.”), aff’d, 2 F.4th 630 (7th

Cir. 2021).

        And in the wake of the Supreme Court’s decision in Walden v. Fiore, 571 U.S. 277 (2014),

conspiracy jurisdiction clearly violates due process and should be rejected “out of hand.” In re Dental

Supplies Antitrust Litig., 2017 WL 4217115, at *7 (E.D.N.Y. Sept. 20, 2017) (holding it “highly

unlikely that any concept of conspiracy jurisdiction survived the Supreme Court’s ruling in Walden”).

Therefore, even when plaintiffs (unlike the Plaintiff here) do adequately plead the existence of a

conspiracy encompassing a nonresident defendant, that does not justify the exercise of jurisdiction

by an Illinois court over a foreign defendant with no direct connections to the State.
                                                  11
 Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 17 of 23 Page ID #78



       Further, even if the Complaint had alleged facts in support of agency or alter ego jurisdiction

sufficient to satisfy Plaintiff’s prima facie burden (it did not), the evidence shows that BCM and

Binance.US are not alter egos of each other and have no agency relationship. BCM and Binance.US

are separate and distinct legal entities. Chan Decl. ¶ 19. Binance.US is not a wholly or partially

owned subsidiary of Binance.US, and BCM neither dominates nor controls Binance.US. Id. ¶ 18.

Binance.US conducts no business operations on behalf of BCM, and BCM exercises no control over

the daily operations of Binance.US. Id. ¶ 20. BCM neither finances the operations of Binance.US

nor treats its cashflow as BCM’s own. Id. ¶ 21. BCM and Binance.US do not file consolidated tax

returns in Illinois or any other jurisdiction. Id. ¶ 22. BCM does not pay for any of Binance.US’s

operating costs. Id. ¶ 20. And BCM and Binance.US do not share office space, while each entity

maintains its own corporate records. Id. ¶ 23. There is no evidence to suggest that Binance.US’s

alleged actions in Illinois can properly be imputed to BCM.

                                           *       *       *

       BCM and Binance.US are “separate legal entities,” meaning “the minimum contacts of one

[Binance.US] are not the minimum contacts of another [BCM].” Khan v. Gramercy Advisors, LLC,

61 N.E.3d 107, 128 (Ill. Ct. App. 2016). Because the contacts of BCM are insufficient to satisfy

federal or state due-process standards, there is no personal jurisdiction over it here, and the Complaint

against BCM must be dismissed with prejudice.

 II.   Alternatively, the Court Should Dismiss the Complaint Because It Does Not Adequately
       Plead Any Claims Against BCM.

       In addition to the lack of any cognizable jurisdictional basis, Plaintiff’s effort to drag BCM

into his dispute against Binance.US and Jumio fails for the alternative reason that Plaintiff cannot

state any viable legal claim against BCM. Plaintiff cannot credibly allege that BCM violated the

Illinois BIPA (Count I) or was unjustly enriched (Count II).

                                                   12
    Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 18 of 23 Page ID #79



        The Complaint’s allegations as to BCM are nearly nonexistent. Indeed, the Complaint does

not allege that BCM earns revenue related to the trading of cryptocurrency, that BCM obtained

biometric information from Plaintiff or users of an exchange, or that BCM even had an iPhone

application that Plaintiff downloaded. Compl. ¶¶ 5, 14, 24–25, 28, 34–35. None of the Complaint’s

factual allegations implicates BCM, and BCM does not operate and is not associated with the

Binance.US trading platform. Chan Decl. ¶ 16.

        The Complaint attempts to skirt that glaring problem in the “Causes of Action” section by

repeatedly referring to the actions of “Defendants.” Compl. ¶¶ 51–52, 54, 56, 57–59, 61–64. But the

“Factual Allegations” section makes clear that Plaintiff’s quarrel actually concerns the alleged actions

or omissions of Binance.US, not BCM. And a complaint may not survive dismissal by simply

“lumping all of the defendants together.” Patel v. Fendler, No. 15-cv-0366-MJR-SCW, 2016 WL

336017, at *3 (S.D. Ill. Jan. 28, 2016); see also Bank of Am., NA v. Knight, 725 F.3d 815, 818 (7th

Cir. 2013) (because “[l]iability is personal,” the allegation that “the defendants looted the

corporation” is insufficient under “normal pleading standards,” and a “complaint based on a theory

of collective responsibility must be dismissed”); Eilenfeldt v. United CUSD #304 Bd. of Educ., 2013

WL 12248080 (C.D. Ill. Mar. 25, 2013) (noting that by “continually lumping ‘the Defendants’

together Eilenfeldt violate[d] Rule 8(a)’s requirement that she give the Defendants fair notice of the

claims against them” and holding that the “group pleading [was] also problematic because . . . it [was]

simply impossible for some of Eilenfeldt’s allegations to be brought against all of the Defendants”).

In short, the group pleading Plaintiff relies on is plainly impermissible under Rule 8(a).3




3
     Even if the Court were to credit these “Defendant” allegations against BCM (it should not), it
     must still dismiss as to BCM because the allegations would constitute only a “formulaic recitation
     of the elements” of Plaintiff’s causes of action that the Supreme Court has made clear “will not
     do.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted).
                                                  13
 Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 19 of 23 Page ID #80



       Moreover, Plaintiff cannot rope BCM into this litigation by simply saying magic words like

“co-conspirator,” “agent,” and “alter ego.” On a single occasion the Complaint alleges that BCM

“directly collected [Plaintiff’s] and other Illinois Binance.US users’ biometric information and

identifiers or is otherwise responsible for the collection of that data,” “as an alter ego of Binance.US.”

Compl. ¶ 40 (emphasis added). As explained above, the conclusory assertion that BCM is the alter

ego of Binance.US is insufficient to avoid dismissal. A court must reject a plaintiff’s argument that

defendants “each may appropriately be held liable for the acts of the others” based on the notion that

they are “mere ‘alter egos’ of one another,” when the complaint fails to “plead sufficient factual

material” that “would support a finding of [] liability based on corporate veil piercing.” Swiss

Reinsurance Am. Corp. v. Access Gen. Agency, Inc., 571 F. Supp. 2d 882, 885 (N.D. Ill. 2008)

(granting motion to dismiss). Likewise, in a single paragraph Plaintiff alleges that each defendant

acted as the “agent” and “co-conspirator of the other defendant.” Compl. ¶ 19. For the same reason,

the mere invocation of those concepts—without further factual support—is insufficient to survive

dismissal. See Knight, 725 F.3d at 818 (“even for allegations of conspiracy . . . it remains essential

to show that a particular defendant joined the conspiracy and knew of its scope,” and the “complaint

does not get even that far”); Connick v. Suzuki Motor Co., 675 N.E.2d 584, 592 (Ill. 1996) (“A

complaint relying on agency must plead facts which, if proved, could establish the existence of an

agency relationship. It is insufficient to merely plead the legal conclusion of agency.”); Shanahan,

2020 WL 3058088, at *6 (dismissing complaint when plaintiff failed to plausibly allege the agent’s

authority or principal’s ratification in attempting to plead an agency relationship). The Court should

therefore reject Plaintiff’s apparent effort to impute the alleged actions of Binance.US to BCM by

incanting co-conspirator, agent, and alter ego without any support.

       Even if Plaintiff had directed his allegations at BCM, his BIPA claim would still fail because

BIPA does not apply extraterritorially. Rivera v. Google Inc., 238 F. Supp. 3d 1088, 1100 (N.D. Ill.
                                                 14
 Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 20 of 23 Page ID #81



2017). The “majority of circumstances relating to the alleged violation” here are not alleged to have

occurred in Illinois. Landau v. CNA Fin. Corp., 886 N.E.2d 405, 409 (Ill. Ct. App. 2008); see, e.g.,

Compl. ¶¶ 15–18, 21, 24–25. As a result, Plaintiff’s BIPA claim must be dismissed. See McGoveran

v. Amazon Web Servs., Inc., 2021 WL 4502089, at *4 (D. Del. Sept. 30, 2021) (reasoning that a

“plaintiff’s residency is not enough to establish an Illinois connection in order to survive a motion to

dismiss based on extraterritoriality” and collecting Illinois cases).

        Finally, Plaintiff’s unjust enrichment claim is insufficient for an additional reason: the

Complaint fails to allege Plaintiff would have acted differently if Binance.US had provided the

required disclosures or obtained written consent pursuant to the BIPA. In Cleary v. Philip Morris

Inc., 656 F.3d 511 (7th Cir. 2011), plaintiffs’ unjust enrichment theory rested on the contention “that

they had a legal right to know about the true nature and hazards of cigarettes” pursuant to Illinois’

consumer fraud statute, and that defendants’ failure “to disclose the full truth . . . was to the plaintiffs’

detriment.” Id. at 517. The Cleary plaintiffs, however, did not allege that they suffered harm, relied

on the defendants’ marketing, or would have acted differently if defendants had made the proper

disclosures. Id. As a result, the court held that defendants’ “retention of the cigarette revenue is not

a detriment to them,” and therefore dismissed the plaintiffs’ unjust enrichment claim. Id. at 519–20.

Here, Plaintiff similarly has not alleged that he would not have signed up for or used the Binance.US

platform if it had provided different or additional information concerning the collection of biometric

data.   As a result, the retention by “Defendants” of fees from sales and transfers—which is

unconnected to Plaintiff’s provision of biometric information during the account creation process—

is in no sense a detriment to Plaintiff. This is yet another reason why this Court should not let

Plaintiff’s unjust enrichment claim stand.

        Even if this Court could exercise personal jurisdiction against BCM, it would have to dismiss

the Complaint against BCM for failure to state any claims.
                                                15
 Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 21 of 23 Page ID #82



                                         CONCLUSION

       Plaintiff’s biometric data was allegedly collected on the Binance.US platform without it

disclosing certain information or obtaining written consent in violation of Illinois’ BIPA. There are

no facts to suggest that BCM was involved in the alleged violation, as BCM does not operate the

Binance.US platform. Plaintiff has therefore failed to state a claim against BCM.

       But this Court need not reach that issue, because BCM has no connection to Illinois, and

Plaintiff cannot hale it into this Court on the basis of nothing more than conclusory, unsupported

allegations that BCM and Binance.US are co-conspirators, agents, or alter egos of one another. This

Court cannot exercise personal jurisdiction over BCM, and should dismiss the Complaint against it

with prejudice.




                                                 16
 Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 22 of 23 Page ID #83



Dated: January 31, 2022               Respectfully submitted,

                                      /s/ Jacob L. Kahn

                                      Alexander H. Southwell*
                                      GIBSON, DUNN & CRUTCHER LLP
                                      200 Park Avenue
                                      New York, NY 10166
                                      Tel: 212-351-3981
                                      asouthwell@gibsondunn.com

                                      Jacob L. Kahn, #6296867*
                                      RILEY SAFER HOLMES & CANCILA LLP
                                      70 West Madison Street, Suite 2900
                                      Chicago, Illinois 60602
                                      Tel: 312-471-8700
                                      jkahn@rshc-law.com

                                      *admitted pro hac vice

                                      Counsel for Defendant Binance Capital
                                      Management Co., Ltd.




                                     17
Case 3:21-cv-01425-SPM Document 27 Filed 01/31/22 Page 23 of 23 Page ID #84




                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was filed electronically with the

 Clerk of the Court using the CM/ECF system on January 31, 2022, which will send notification

 of such filing to all counsel of record.



                                                /s/   Jacob L. Kahn
                                                      Jacob L. Kahn
